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IN THE UNITED S'I`ATES DISTRIC'I` COURT
EASTERN DISTRICT OF ARKANSAS

LITTLE ROCK DIVISION
TERESA BLOODMAN PLAINTIFF
v. CASE NO.: 4:16-cv-773-SWW
BANK OF AMERICA, N.A., DEFENDANTS

MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC.,
a subsidiary of MERSCORP, INC.,
as Nominee and Mortgagee for
One Bank and Trust, an Arkansas
Corporation; COUNTRYWIDE HOME LOANS;
ONE BANK AND TRUST;
CARRINGTON MORTAGE
M()TION TO DISMISS OF SEPARATE DEFENDANT ONE BANK & TRUST, N.A.

Comes the Separate Defendant, One Bank & Trust, N.A. (“One Bank”), and for its
l\/lotion to Disrniss the Plaintiff`s Complaint, alleges and states the following:

l. On September 14, 2016, the Plaintiff, Teresa Bloodman, filed her Complaint in
the Circuit Court of Saline County, Arkansas. The Complaint Was removed to the United States
District Court for the Eastern District of Arkansas on October 21, 2016.

2. One Bank has not been served With process as required by Rule 4 of the Federal
Rules of Civil Procedure. One Bank raises the defenses of insufficient process and insufficient
service of process in order to preserve such defenses

3. A review of the Complaint reveals that there are no claims or causes of action
asserted against One Banl<. Rather, One Bank has apparently been included in the Complaint

because it originally loaned the Plaintiff a sum of money. The Plaintiff makes no claims related

to the original loan from One Bank, only the foreclosure of property by the assignee of the loan.

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There are no allegations of any wrongdoing, improper conduct, or other actionable conduct to
support a claim against One Bank in the Complaint. As a result, the Plaintiff has failed to state a
claim upon which relief can be granted and the claims against One Bank should be dismissed
pursuant to Rule lZ(b)(6).

4. Separate Defendants Bank of America, N.A., Mortgage Electronic Registration
Systems, lnc., Countrywide Home Loans, Inc., and Carrington Mortgage Services LLC (“Co-
Defendants”) have filed a motion to dismiss based on the doctrines of resjudz'cata and collateral
estoppel The arguments raised by the Co-Defendants also apply to One Banl<. As a result, One
Banl< incorporates the arguments raised by the Co-Defendants in their motion to dismiss and
supporting brief and incorporate such arguments as if set forth word for word herein. Based on
these arguments, the claims against One Bank should be dismissed pursuant to Rule lZ(b)(o).

WHEREFORE, the Separate Defendant, One Banl< & Trust, N.A., prays that the
Plaintiff’s Complaint be dismissed and that it be awarded its attorneys’ fees, costs and all other

just and proper relief to which it is entitledl

FUQUA CAMPBELL, P.A.
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By: /s/ Phil Campbell
Phil Campbell, Ark. Bar No. 81028

ATTORNEYS FOR SEPARATE DEFENDANT
ONE BANK & TRUST, N.A.

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CERTIFICATE OF SERVICE

I, Phil Campbell, hereby certify that on this 28th day of October, 2016, a copy of the
foregoing document will be served electronically through the Court's Cl\/l/ECF system or by first

class mail to:

Teresa Bloodman
P.O. Box 13641
i\/laumelle, AR 7'21 13

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/s/ Phil Campbell

